                             MICHAEL H. ARNOLD, ESQ.
                                          2000 HSBC PLAZA
                                        100 CHESTNUT STREET
                                     ROCHESTER, NEW YORK 14604
                                           (585) 295-4310


 February 27, 2018


 Hon. Paul R. Warren
 United States Bankruptcy Court
 100 State Street
 Rochester, NY 14614

        Re:     Flour City Bagels, LLC v. 683 PVR, LLC, et. al.
                A.P. No. 16-20213

 Dear Judge Warren:

        A conference in the above matter is presently scheduled for February 28, 2018. Please
 be advised that the plaintiff has agreed to settle this matter, subject to approval of a motion to
 compromise controversy.

         The settlement will be between plaintiff and defendant Michael Borelli. Upon approval
 of the motion to compromise, the matter will be dismissed as to the remaining defendants.

        I expect to file the motion to compromise no later than March 16, 2018. Based upon the
 foregoing, I understand no appearances are required at the scheduled conference.

        Thank you very much for your continued attention to this matter.


                                                       Very truly yours,

                                                       /s/
                                                       Michael H. Arnold
                                                       Chapter 11 Plan Administrator

 MHA/ss




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